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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

    v.                                                 Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

      Defendant.

  PRESIDENT DONALD J. TRUMP’S OPPOSED MOTION FOR ORDER TO SHOW
     CAUSE WHY PROSECUTORS SHOULD NOT BE HELD IN CONTEMPT

         President Donald J. Trump respectfully moves this Court for an order to show cause why

prosecutors Jack Smith, Molly Gaston, and Thomas Windom (collectively, the “prosecutors”)

should not be held in contempt for violating the Court’s order “stay[ing] any further proceedings

that would move this case towards trial or impose additional burdens of litigation on Defendant.”

Doc. 186 at 2 (the “Stay Order”).

                                        INTRODUCTION

         The Stay Order is clear, straightforward, and unambiguous. All substantive proceedings in

this Court are halted. Despite this clarity, the prosecutors began violating the Stay almost

immediately. First, within five days of the Court entering the Stay Order, the prosecutors served

thousands of pages of additional discovery, together with a purported draft exhibit list. Doc. 188.

Through counsel, President Trump advised that he rejected the prosecutors’ unlawful productions,

that their actions violated the Stay Order, and that he would seek relief if their malicious conduct

continued. Docs. 189, 189-1.

         Ignoring this warning, the prosecutors filed an expansive motion in limine less than 10 days

later. Doc. 191 (the “MIL”). This document teems with partisan rhetoric, including false claims

that President Trump “propagates irrelevant disinformation” both “within the courtroom” and



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“outside of it.” Id. at 1, 9. Moreover, the MIL mirrors the Biden Administration’s dishonest talking

points, asserting, again falsely, that President Trump was responsible for the events of January 6,

2021, when in truth he called for peaceful and patriotic assembly and protest. In this manner, the

prosecutors seek to weaponize the Stay to spread political propaganda, knowing that President

Trump would not fully respond because the Court relieved him of the burdens of litigation during

the Stay. Worse, the prosecutors have announced their intention to continue this partisan-driven

misconduct indefinitely, effectively converting this Court’s docket into an arm of the Biden

Campaign.

       To remedy this outrageous conduct, the Court should issue an order to show cause why the

prosecutors should not be: (1) held in contempt; (2) required to immediately withdraw their MIL

and improper productions; (3) forbidden from submitting any further filing or production absent

the Court’s express permission while the Stay Order is in effect; and (4) assessed monetary

sanctions in the amount of President Trump’s reasonable attorneys’ fees and expenses incurred in

responding to the prosecutors’ improper productions and filings, including in litigating this Motion

(collectively, the “Requested Sanctions”).

                                        BACKGROUND

       This case presents weighty questions of first impression concerning the scope of

Presidential immunity, the Impeachment Judgment Clause, and double jeopardy. See Doc. 171 at

30 n.5 (“[T]his is not an easy issue.” (quoting Thompson v. Trump, 590 F. Supp. 3d 46, 74 (D.D.C.

2022)). President Trump moved to dismiss on these and other grounds, Docs. 74, 113, which the

Court denied. Docs. 171, 172. Thereafter, President Trump timely noticed an appeal, Doc. 177,

and moved for a stay of all proceedings, Doc. 178.




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       As “the entire case is essentially ‘involved in the appeal,’” we explained that the entire case

must be stayed. Coinbase, Inc. v. Bielski, 599 U.S. 736, 741 (2023) (quoting Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58 (1982)); see also id. at 738 (where the entire case is involved

in the appeal, “the district court must stay its pre-trial and trial proceedings”). Additionally, we

explained that President Trump’s immunity and double jeopardy arguments relieve him of the

“burdens of litigation” until the appeal is resolved. Blassingame v. Trump, 87 F.4th 1, 29 (D.C.

Cir. 2023) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). This doctrine protects both

President Trump personally, and also serves the vital public interest of minimizing the chilling

effect that litigation would have on the discretionary conduct of public officials. See Mitchell, 472

U.S. at 526.

       In response, the prosecutors agreed that “while the appeal is pending . . . the defendant will

not be subjected to the ‘burdens of litigation,’” but improperly suggested that the prosecution could

somehow “continue to shoulder its own burden” and advance the case in President Trump’s

absence. Doc. 182 at 3. By this, the prosecutors meant that they would attempt to unconstitutionally

try President Trump in absentia by continuing to submit filings “and other pleadings pertaining to

the Government’s trial presentation.” Id. The prosecutors further invited error by suggesting,

wrongly, that the Court could “make headway” on motions, despite its lack of jurisdiction. Id. at

2.

       The Court rejected this unprecedented and unlawful approach, and instead stayed “any

further proceedings that would move this case towards trial or impose additional burdens of

litigation on Defendant.” Doc. 186 at 2. “[F]or clarity,” the Court expounded, this stay included

all “deadlines and proceedings scheduled by its Pretrial Order, as amended.” Id. at 2.




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       To ensure that the prosecutors did not incorrectly believe that the Court had tacitly

endorsed its lawless request for in absentia proceedings, the Court provided two—and only two—

“limits on the stay,” stating that: (1) “the stayed deadlines and proceedings are ‘held in abeyance,’

Motion at 1, rather than permanently vacated,” and (2) “the court does not understand the required

stay of further proceedings to divest it of jurisdiction to enforce the measures it has already

imposed to safeguard the integrity of these Proceedings.” Id.

       Driving this point home, the Court distinguished the above exceptions, which it held do

“not advance the case towards trial or impose burdens of litigation on Defendant beyond those he

already carries,” from “additional discovery or briefing,” which do impose such burdens. Id. at 3.

       Despite this clear guidance, the prosecutors immediately violated the Stay Order by serving

nearly 4,000 pages of “additional discovery” on December 17, 2023, including what the

prosecutors’ production letter described as several hundred video and audio recordings. See Doc.

189. The next day, on December 18, 2023, the prosecutors continued their brazen misconduct by

serving a purported exhibit list. Doc. 188. The prosecutors’ only explanation for this harassment

of President Trump was their already-rejected claim that violating the Stay Order was necessary

“to help ensure that trial proceeds promptly if and when the mandate returns.” Id. Worse, the

prosecutors misrepresented the Stay Order, claiming that only “the deadlines in the Pretrial Order

are ‘held in abeyance,’” id., when, in fact, the Court stayed “the deadlines and proceedings

scheduled by its Pretrial Order,” and held that “any further proceedings that would move this case

towards trial or impose additional burdens of litigation on Defendant” are prohibited, Doc. 186 at

2 (emphasis added).

       Thus, the prosecution’s claimed justification—that continued filings and discovery are

necessary to prepare this case for a potential trial—is precisely what the Stay Order forbids.




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President Trump patiently explained this to the prosecutors, both in a Response to the Prosecutors’

Notice of Service, Doc. 189 (the “Response”), and a separate letter, Doc. 189-1 (the “Letter”).

Specifically, President Trump stated:

       [T]here is no question that your present discovery and draft exhibit list productions,
       and any future productions, are “proceeding[s]” that violate the Stay Order by
       advancing the case “towards trial” and “impos[ing] additional burdens of litigation”
       on President Trump. [Doc. 186] at 2. Indeed, the prosecution admits as much in its
       filing this evening, which states it produced the draft exhibit list “to help ensure the
       trial proceeds promptly if and when the mandate returns.” Doc. 188. Both the Stay
       Order and binding precedent forbid these unlawful actions.

       Although the prosecution may wish to rush this case to an early and unconstitutional
       trial in hopes of undermining President Trump’s commanding lead in the upcoming
       Presidential election, it must nonetheless abide by the Stay Order. As such, we will
       not accept or review the present production, or any additional productions, until
       and unless the Court lifts the Stay Order. If the prosecution continues to violate the
       Stay Order, we will seek appropriate relief.

Doc. 189-1 at 2.

       The prosecutors did not respond to either the Letter or the Response. The prosecutors did,

however, attempt to wrongfully exploit the Stay Order in seeking certiorari before judgment from

the Supreme Court. Namely, the prosecutors advised the Supreme Court that: (1) President

Trump’s “appeal has halted progress towards trial,” (2) “[t]he effect of that appeal, as the [Court]

recognized, is to automatically stay[] any further proceedings that would move this case towards

trial or impose additional burdens of litigation on [President Trump],” (3) the “deadlines and

proceedings” specified in the prior pretrial order are stayed, and (4) “[i]n short, the case is now on

hold.” United States v. Trump, No. 23-624, 2023 WL 8869789 at *5 (U.S.) (cleaned up).

       Nowhere in this recitation did the prosecutors adopt their discredited and unsupportable

claims that only “deadlines” and not “proceedings” are stayed, or that they are somehow permitted

to continue advancing the case toward trial through preparatory filings or discovery productions.




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Just the opposite, the prosecutors argued that the Stay Order was effectively all-encompassing and

therefore necessitated urgent intervention by the Supreme Court. Id.

       Unpersuaded, the Supreme Court denied the prosecutors’ desperate ploy for early review.

23-624, 601 U.S. ___ (Dec. 22, 2023). Having failed above, the prosecutors resumed their strategy

of violating the Stay Order, filing the MIL on December 27, 2023. Doc. 191. Aware that their

submission was improper, the prosecutors tellingly did not confer with President Trump before

filing, as required. See September 5, 2023, Second Minute Order; September 11, 2023, Minute

Order. Moreover, and unsurprisingly, the prosecutors suddenly forgot their histrionics regarding

the all-encompassing scope of the Stay Order. Instead, the prosecutors returned to their twisted

view that the Stay Order is merely a suggestion meaning less than the paper it is written on. Once

again, the prosecutors falsely claimed that only “deadlines” are held in abeyance, Doc. 191 at 1

n.1, and not “any further proceedings that would move this case towards trial or impose additional

burdens of litigation on Defendant,” Doc. 186 at 2 (emphasis added). And once more, the

prosecutors admitted their goal is to achieve exactly what the Stay Order forbids—preparing this

case for a potential trial, which the prosecutors arrogantly presuppose will occur. Doc. 191 at 1

n.1.

       Yet this is not the prosecutors’ only unlawful goal. Unstated, but obvious, is the

prosecutors’ desperate effort to harass President Trump and prevent his likely victory in the 2024

Presidential Election. A significant part of this strategy, which the prosecutors have employed

from the outset, is to use this case as a platform to advance the Biden Campaign’s dishonest

political talking points, including, for example, echoing the false and defamatory claims that

President Trump spreads “disinformation.” Compare Doc. 191 at 1 (claiming President Trump

“propagates irrelevant disinformation”) with Brooke Singman, Biden campaign to launch account




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on Trump’s Truth Social, Fox News (October 16, 2023) (“Biden campaign officials say they are

‘injecting our message’ into GOP primary coverage and plan to combat ‘mis and disinformation’

about President Biden that may appear on [President Trump’s] social media platform [Truth

Social].”).

        Likewise, the prosecutors dutifully repeat the Biden Administration’s long-debunked claim

that President Trump somehow caused the events of January 6, 2021, when in truth President

Trump called only for peaceful and patriotic protest and assembly. Compare Transcript of Trump’s

Speech at Rally Before US Capitol Riot, AP (Jan. 13, 2021) (encouraging crowd to “peacefully

and patriotically make your voices heard,” and “cheer on our brave senators and congressmen and

women”) with Doc. 191 at 13 (claiming President Trump was “responsible for inflaming his

followers and causing the Capitol riot”) and Lisa Mascaro, Zeke Miller, Mary Clare Jalonick,

Biden warns of US peril from Trump’s ‘dagger’ at democracy, Los Angeles Daily News (Jan. 6,

2022) (“President Joe Biden forcefully blamed Donald Trump and his supporters Thursday for

holding a ‘dagger at the throat of democracy’ with election lies that sparked last year’s deadly

assault on the U.S. Capitol.”).

        As it did on Truth Social, the Biden Campaign improperly seeks to “inject [its] message”

into this case, and the prosecutors are more than happy to oblige, notwithstanding the Stay Order.

Indeed, as the prosecutors undoubtedly anticipated, the political talking points they strategically

placed in the MIL spread like wildfire, reaching every major news outlet in the country within

minutes. See, e.g., Katelyn Polantz and Hannah Rabinowitz, Trump should not be allowed to use

courtroom to sow disinformation, special counsel argues, CNN (Dec. 27, 2023); Rachel Weiner

and Perry Stein, Special counsel asks D.C. judge to bar Trump misinformation at trial, THE




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WASHINGTON POST (Dec. 27, 2023); Katherine Faulders and Alexander Mallin, Trump should be

barred from blaming others for Jan. 6 riot at trial: Special counsel, ABC News (Dec. 27, 2023).

                                      APPLICABLE LAW

       “Courts possess ‘inherent power to enforce compliance with their lawful orders through

civil contempt.’” Commodity Futures Trading Comm’n v. Trade Exch. Network Ltd., 117 F. Supp.

3d 22, 26 (D.D.C. 2015) (quoting Shillitani v. United States, 384 U.S. 364, 370 (1966)). Doing so,

“is essential to ‘the enforcement of the judgments, orders and writs of the courts, and consequently

to the due administration of justice.’” Id. (quoting Broderick v. Donaldson, 437 F.3d 1226, 1234

(D.C. Cir. 2006)). Accordingly:

       A party moving for civil contempt must show, by clear and convincing evidence,
       that (1) there was a clear and unambiguous court order in place; (2) that order
       required certain conduct by [respondents]; and (3) [respondents] failed to comply
       with that order. A clear and unambiguous order does not leave any reasonable doubt
       as to what behavior was expected and who was expected to behave in the indicated
       fashion. Once the [moving party] has made a prima facie case demonstrating that
       the [respondent] failed to comply with the Court’s order, the burden shifts to [the
       respondent] to produce evidence justifying its noncompliance.

       The [respondents’] intent in failing to comply with a court order is irrelevant.
       However, the [respondents] may justify [their] failure to comply with a court order
       by establishing [their] inability to comply or good faith substantial compliance. To
       demonstrate good faith substantial compliance, the [respondents] have to show that
       they took all reasonable steps within [their] power to comply with the court’s order.

Id. (citations and quotation marks omitted).

       Although President Trump’s Notice of Appeal divested the Court of jurisdiction regarding

the substantive aspects of this case, the Court held that it retains “jurisdiction to enforce the

measures it has already imposed to safeguard the integrity of these proceedings.” See Doc. 186 at

2. It is currently unnecessary to decide whether the Court retains such residual jurisdiction over

certain prior orders, see id. at 3; however, there is no dispute that the Court retains jurisdiction

over the Stay Order itself, and thus any contempt proceedings flowing from the prosecutors’



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violation of the Stay Order. See In re Grand Jury Subpoena No. 7409, No. 18-41 (BAH), 2018

WL 8334866, at *2 (D.D.C. Oct. 5, 2018), aff’d sub nom. In re Grand Jury Subpoena, 749 F.

App’x 1 (D.C. Cir. 2018) (collecting “voluminous and convincing” case law that a district court

possesses “jurisdiction to enforce its orders pending appeal,” including through civil contempt

proceedings, unless a stay of those orders are entered pending appeal); In re Grand Jury

Investigation of Possible Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, No. MC 18-175,

2019 WL 2182436, at *2 (D.D.C. Apr. 10, 2019), aff’d sub nom. In re Sealed Case, 932 F.3d 915

(D.C. Cir. 2019) (same); see also United States v. Ruiz, 536 U.S. 622, 628 (2002) (“[A] federal

court always has jurisdiction to determine its own jurisdiction.”).

                                           ARGUMENT

       A. The Court Should Order the Prosecutors to Show Cause Why They Should Not
          Be Held in Contempt

       As with other orders, the Court may remedy the violation of a stay through civil contempt

proceedings. See, e.g., In re Robinson, No. 06-10618-SSM, 2008 WL 4526183, at *2 (Bankr. E.D.

Va. Sept. 29, 2008) (“A violation of the automatic stay may be redressed by the bankruptcy court

under its civil contempt powers.”); In re Walker, 551 B.R. 679, 692 (Bankr. M.D. Ga. 2016)

(“Beyond undermining the court’s jurisdiction, a violation of the automatic stay constitutes

contempt of the court.”); In re Miller, 22 B.R. 479, 480 (D. Md. 1982) (noting “near unanimity

that the” knowing violation of an automatic stay is contemptuous).

       Here, the prosecutors’ repeated and willful violations of the Stay Order warrant contempt.

First, “there was a clear and unambiguous court order in place.” Commodity Futures, 117 F. Supp.

3d at 26. Citing the “automatic divestiture rule of Griggs,” the prosecutors initially urged the Court

not to enter the Stay Order, claiming that doing so would be “unnecessary and duplicative.” Doc.




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182 at 1, 3. It is now clear that the prosecutors planned from the outset to violate the Stay, and only

wished to avoid a Court order specifically forbidding them from doing so.

       Wisely, the Court did not leave the prosecutors’ obligations under the Stay to chance or

interpretation, but instead issued a straightforward Order that allowed only one category of

litigation—the enforcement of existing orders. Doc. 186 at 2. Likewise, the Court was equally

clear about what would not be allowed—all other “proceedings that would move this case towards

trial or impose additional burdens of litigation on Defendant,” including all “deadlines and

proceedings scheduled by [the] Pretrial Order, as amended.” Id. In setting these boundaries, the

Court was explicit: both “additional discovery” and “briefing” on non-excepted topics would

violate the Stay Order by improperly “advanc[ing] the case towards trial” and wrongfully

“impos[ing] burdens of litigation on Defendant.” Id. at 3. Proving the clarity of these instructions,

the prosecutors accurately explained the scope of the Stay Order to the Supreme Court, bemoaning,

inter alia, that “the case is now on hold,” together with all “deadlines and proceedings.” Trump,

No. 23-624, 2023 WL 8869789 at *5. Thus, there is no doubt the Stay Order is “clear and

unambiguous” to everyone, including the prosecutors. Commodity Futures, 117 F. Supp. 3d at 26.

       Second, the Stay Order “required certain conduct by [the prosecutors].” Id. Specifically,

the Stay Order required, and requires, that the prosecution abstain from attempting to “move this

case towards trial” or “impose additional burdens of litigation on Defendant.” Doc. 186 at 2.

Although the Stay Order does not require the prosecutors to perform specific acts, “[a] party is in

contempt of court when he violates a definite and specific court order requiring him to perform or

refrain from performing a particular act or acts with knowledge of that order.” MasTec Advanced

Techs. v. Nat’l Lab. Rels. Bd., No. 11-1274, 2021 WL 4935618, at *3 (D.D.C. June 3, 2021)

(citation and quotation marks omitted) (emphasis added). There is no “reasonable doubt as to what




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behavior was expected and who was expected to behave in the indicated fashion.” Commodity

Futures, 117 F. Supp. 3d at 26. Thus, the conduct element is satisfied.

       Third, the prosecutors “failed to comply with” the Stay Order. Id. “[T]he party seeking a

finding of civil contempt must make a prima facie showing that the putative contemnor has

violated an order through a showing of clear and convincing evidence.” MasTec, 2021 WL

4935618, at *3 (citations and quotation marks omitted). In this case, there is no doubt. Despite the

Court’s explicit holding that “additional discovery” and “briefing” would violate the Stay Order,

Doc. 186 at 3, the prosecutors repeatedly engaged in that exact conduct, disobeying the Stay Order

at least three times in just two weeks. By themselves, each of the prosecutors’ violations—

including a large discovery production, an extensive exhibit list production, and lengthy MIL

briefing—would be substantial and warrant sanction. Taken together with the prosecutors’ threat

to continue violating the Stay Order indefinitely, there is no question here that the prosecutors’

actions are purposely contemptuous. This conduct is beyond the pale and must be sanctioned.

       Fourth, the prosecutors have no justification for their misconduct. As noted, “intent in

failing to comply with a court order is irrelevant.” Commodity Futures, 117 F. Supp. 3d at 26.

However, even if intent were a consideration, the prosecutors did not violate the Stay Order

inadvertently. President Trump explained the scope of the Stay Order to the prosecutors and

warned them to stop their violations. Afterward, the prosecutors submitted a brief to the Supreme

Court, demonstrating that they knew full well what the Court expected of them. Yet they violated

the Stay Order again. These were no accidents. The submissions were fully planned, intentional

violations of the Stay Order, which the prosecutors freely admit they perpetrated in hopes of

unlawfully advancing this case. Doc. 191 at 1 n.1 (stating the MIL was filed to “promote the

prompt resumption of the pretrial schedule,” notwithstanding the Stay Order).




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       For the same reason, the prosecutors cannot “show that they took all reasonable steps

within [their] power to comply with the court’s order.” Commodity Futures, 117 F. Supp. 3d at 26

(citation and quotation marks omitted). For instance, the prosecutors “never sought any

clarification of the order” and never asked permission to make any filings. Id. at 27. Likewise,

recognizing that their actions were plainly unlawful, the prosecutors purposely did not confer with

opposing counsel before filing the MIL. These repeated, intentional, and malicious actions

demonstrate that the prosecutors have not once attempted to comply with the Stay Order, but have

instead openly defied it from day one. “Accordingly, the [prosecutors] did not take all reasonable

steps to comply with the [Stay] Order and therefore were not in good faith substantial compliance

with the [O]rder.” Id.

       B. The Requested Sanctions Would Be Appropriate

       “A civil contempt action is characterized as remedial in nature, used to obtain compliance

with a court order or to compensate for damages sustained as a result from noncompliance.” United

States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 29 (D.D.C. 2014) (citations omitted).

Thus, “Federal courts have broad equitable powers to craft remedial sanctions for civil contempt,”

and “[a] court’s goal is to fashion a remedy that will coerce the contemnor into compliance,

compensate the complainant for losses due to the noncompliance, or both.” Id. at 36 (citation

omitted). The Requested Sanctions are sufficient, but not greater than necessary, to accomplish

these goals.

       As an initial matter, the Court should order the prosecutors to immediately withdraw their

MIL and improper productions. These are the primary violations of the Stay Order, and they

continue to cause additional harm to President Trump and to the due administration of justice each

day that they remain outstanding. Although President Trump has, consistent with his rights under




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the Stay Order, refused to accept or substantively respond to these violative documents, the only

way to obtain compliance from recalcitrant prosecutors such as these is to force them to

acknowledge their wrongdoing and affirmatively withdraw their offensive actions.

       Next, the Court should require that the prosecutors seek and obtain permission from the

Court before submitting any filings or productions for the duration of the Stay Order to ensure that

any further attempts to violate the Stay Order will be summarily denied. The prosecutors have

shown, repeatedly, that they are unwilling to act in good faith and have announced their intention

to continue violating the Stay Order if left to their own devices. A pre-clearance requirement will

ensure that only permissible documents are filed or served, while imposing minimal administrative

burden, as such documents should be very few and far between, if not nonexistent.

       Last, the Court should require the prosecutors to “compensate [President Trump] for

damages sustained as a result from noncompliance.” Latney’s Funeral Home, 41 F. Supp. 3d at 29

(citation omitted). Namely, the prosecutors should reimburse President Trump for all reasonable

attorneys’ fees and other expenses that he has incurred responding to the prosecutor’s improper

productions and filings. This would include the costs of preparing his prior Response and Letter,

Docs. 189, 189-1, and in preparing and litigating this Motion. In this District, a contempt “award

will often consist of reasonable costs (including attorneys’ fees) incurred in bringing the civil

contempt proceeding.” Landmark Legal Found. v. E.P.A., 272 F. Supp. 2d 70, 76 (D.D.C. 2003)

(citations omitted). This is sensible, as “attorneys fees and costs caused by [an offending party’s]

contumacious conduct, is designed to compensate [the injured party], rather than punish [the

offending party].” Id.; see also id. at 86 (“It is well-established that courts may award attorneys’

fees and expenses in conjunction with a civil contempt proceeding.”). An award of fees is,

therefore, entirely appropriate and necessary to remedy the financial injuries caused by the




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prosecutors’ misconduct. Indeed, considering the equally significant harms the prosecutors’

actions have imposed on the public by undermining the purpose of the stay—ensuring immune

officials can confidently exercise their discretion without fear of litigation—this request is quite

modest.

       Nor would a lesser award adequately deter the prosecutors’ misconduct. The Special

Counsel’s Office has spent untold tens of millions prosecuting President Trump, including over

$9.2 million in just the approximately 4 months from November 18, 2022, through March 31, 2023

(when the Office ceased its disclosures).1 Although the prosecutors may scarcely feel the impact

of paying President Trump’s reasonable attorneys’ fees and expenses given the Biden

Administration’s blank check, at the very least it will signal that their continued violations will not

come without cost.

                                          CONCLUSION

       The prosecutors are not “ordinary part[ies] to a controversy,” but representatives of “a

sovereignty whose obligation to govern impartially is as compelling as its obligation to govern at

all; and whose interest, therefore, in a criminal prosecution is not that it shall win a case, but that

justice shall be done.” Berger v. United States, 295 U.S. 78, 88 (1935). The prosecutors have cast

these hallowed mandates aside to score cheap political points against President Trump on behalf

of the Biden Campaign. In so doing, the prosecutors have repeatedly and willfully disregarded the

Court’s explicit instructions. Such malignant conduct undermines the integrity of this proceeding

and warrants severe sanction.




1
 See U.S. Department of Justice, Special Counsel’s Office – Smith Statement of Expenditures
November 18, 2022 through March 31, 2023, (reporting approximately $5.4 million in direct
expenditures and an additional $3.8 million “DOJ component expenses,” through March 31, 2023
only, the majority of which relate to salaries and benefits).


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       The Court cannot allow the prosecutors to continue to operate lawlessly, in defiance of

well-established protocol and this Court’s authority. The Requested Sanctions are appropriate and

likely to deter any further transgressions, and if not, the Court retains the ability to impose more

severe sanctions, including dismissal of this action. See Guantanamera Cigar Co. v. Corporacion

Habanos, S.A., 750 F. Supp. 2d 31, 34 (D.D.C. 2010) (“A court has the inherent power to protect

its integrity and prevent abuses of the judicial process, including the use of dismissal or default

judgment as a sanction for misconduct. (citation and quotation marks omitted)); Shepherd v. Am.

Broad. Companies, Inc., 62 F.3d 1469, 1475 (D.C. Cir. 1995) (“Other inherent power sanctions

available to courts include . . . disqualifications or suspensions of counsel, and drawing adverse

evidentiary inferences or precluding the admission of evidence.” (citation omitted)).

       Accordingly, the Court should order the prosecutors to show cause why the Court should

not hold them in contempt and impose the Requested Sanctions.

                              CERTIFICATE OF CONFERRAL

       Counsel for President Trump conferred with counsel for the prosecution, who oppose the

relief requested herein.


Dated: January 4, 2024                             Respectfully submitted,

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